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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 UMG RECORDINGS, INC., et al.,

              Plaintiffs,

       vs.

 RCN TELECOM SERVICES, LLC, et al.,

              Defendants.
                                            No. 3:19-cv-17272-MAS-TJB
 and

 RCN TELECOM SERVICES, LLC,

              Counterclaim Plaintiff,       DEFENDANTS’ SECOND
                                            AMENDED ANSWER AND
 vs.
                                            COUNTERCLAIMS
 UMG RECORDINGS, INC., et al.,
                                            JURY TRIAL DEMANDED
              Counterclaim Defendants;

 RECORDING INDUSTRY
 ASSOCIATION OF AMERICA, INC.,

              Counterclaim Defendant;

 RIGHTSCORP, INC.,

              Counterclaim Defendant.
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       Defendants RCN Telecom Services, LLC, RCN Telecom Services of New

 York, L.P., RCN Capital Corp., RCN Telecom Services of Philadelphia, LLC, RCN

 Telecom Services of Massachusetts, LLC, Starpower Communications, LLC, RCN

 Management Corporation, RCN ISP, LLC, RCN Digital Services, LLC, RCN NY

 LLC 1, RCN Telecom Services (Lehigh), LLC, RCN Telecom Services of Illinois,

 LLC, 21st Century Telecom Services, Inc., and RCN Cable TV of Chicago, Inc.

 (collectively, “RCN Defendants”) state as follows for their Answer and Affirmative

 Defenses to the First Amended Complaint of Plaintiffs UMG Recordings, Inc.,

 Capitol Records, LLC, Sony Music Entertainment, Arista Records LLC, Arista

 Music, LaFace Records LLC, Sony Music Entertainment US Latin LLC, Volcano

 Entertainment III, LLC, Zomba Recording LLC, Atlantic Recording Corporation,

 Bad Boy Records LLC, Elektra Entertainment Group Inc., Fueled By Ramen LLC,

 Maverick Recording Company, The All Blacks U.S.A., Inc., Warner Music

 Nashville LLC, Warner Records Inc., Warner Records/Sire Ventures LLC, and

 WEA International Inc. (“Plaintiffs”). Except to the extent expressly admitted

 herein, the RCN Defendants deny each and every allegation of the First Amended

 Complaint.    The numbered paragraphs below correspond to the numbered

 paragraphs in the First Amended Complaint.

       1.     The RCN Defendants deny the allegations in Paragraph 1.




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       2.     The RCN Defendants admit that the Plaintiffs are record companies.

 The RCN Defendants otherwise lack knowledge or information sufficient to form a

 belief about the truth of the allegations in Paragraph 2 and therefore deny them.

       3.     The RCN Defendants deny the allegations in the first two sentences of

 Paragraph 3. The allegations in the third sentence of Paragraph 3 do not require a

 response because they pertain to a separate Defendant, Patriot, which has been

 dismissed from this action.

       4.     The RCN Defendants deny the allegations in Paragraph 4.

       5.     The RCN Defendants deny the allegations in Paragraph 5.

       6.     The RCN Defendants deny the allegations in Paragraph 6.

       7.     The RCN Defendants deny the allegations in Paragraph 7.

       8.     The RCN Defendants deny the allegations in Paragraph 8.

       9.     The RCN Defendants deny the allegations in Paragraph 9.

       10.    The RCN Defendants admit that Plaintiffs have attempted to state

 claims under the copyright laws of the United States. The RCN Defendants

 otherwise deny the allegations in Paragraph 10.

       11.    The RCN Defendants admit the allegations in Paragraph 11.

       12.    The RCN Defendants admit that this Court has personal jurisdiction

 over the RCN Defendants in this action, and that the RCN Defendants have a




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 corporate headquarters and other physical locations within this judicial district and

 division.

         13.   The allegations in Paragraph 13 do not require a response because

 they pertain to a separate Defendant, Patriot, which has been dismissed from this

 action.

         14.   The RCN Defendants admit that venue in this judicial district is

 proper. The RCN Defendants otherwise deny the allegations in Paragraph 14.

         15.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 15 and therefore deny

 them.

         16.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 16 and therefore deny

 them.

         17.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 17 and therefore deny

 them.

         18.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 18 and therefore deny

 them.




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         19.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 19 and therefore deny

 them.

         20.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 20 and therefore deny

 them.

         21.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 21 and therefore deny

 them.

         22.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 22 and therefore deny

 them.

         23.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 23 and therefore deny

 them.

         24.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 24 and therefore deny

 them.




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         25.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 25 and therefore deny

 them.

         26.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 26 and therefore deny

 them.

         27.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 27 and therefore deny

 them.

         28.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 28 and therefore deny

 them.

         29.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 29 and therefore deny

 them.

         30.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 30 and therefore deny

 them.




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         31.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 31 and therefore deny

 them.

         32.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 32 and therefore deny

 them.

         33.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 33 and therefore deny

 them.

         34.   The RCN Defendants admit the allegations in Paragraph 34.

         35.   The RCN Defendants admit the allegations in Paragraph 35.

         36.   The RCN Defendants admit the allegations in Paragraph 36.

         37.   The RCN Defendants admit the allegations in Paragraph 37.

         38.   The RCN Defendants admit the allegations in Paragraph 38.

         39.   The RCN Defendants admit the allegations in Paragraph 39.

         40.   The RCN Defendants admit the allegations in Paragraph 40.

         41.   The RCN Defendants admit the allegations in Paragraph 41.

         42.   The RCN Defendants admit the allegations in Paragraph 42.

         43.   The RCN Defendants admit the allegations in Paragraph 43.

         44.   The RCN Defendants admit the allegations in Paragraph 44.



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         45.   The RCN Defendants admit the allegations in Paragraph 45.

         46.   The RCN Defendants admit the allegations in Paragraph 46.

         47.   The RCN Defendants admit the allegations in Paragraph 47.

         48.   The allegations in Paragraph 48 do not require a response because

 they pertain to a separate Defendant, Patriot, which has been dismissed from this

 action.

         49.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 49 and therefore deny

 them.

         50.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 50 and therefore deny

 them.

         51.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 51 and therefore deny

 them.

         52.   The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 52 and therefore deny

 them.




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         53.    The RCN Defendants state that the Copyright Act speaks for itself,

 and denies the allegations of Paragraph 53 to the extent they are inconsistent with

 the statute.

         54.    The RCN Defendants state that the Copyright Act speaks for itself,

 and denies the allegations of Paragraph 54 to the extent they are inconsistent with

 the statute.

         55.    The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 55 and therefore deny

 them.

         56.    The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 56 and therefore deny

 them.

         57.    The RCN Defendants lack knowledge or information sufficient to

 form a belief about the truth of the allegations in Paragraph 57 and therefore deny

 them.

         58.    The RCN Defendants admit that Rightscorp has sent copyright

 infringement allegations to RCN and has asked RCN to forward those allegations

 to subscribers. The RCN Defendants otherwise deny the allegations in Paragraph

 58.

         59.    The RCN Defendants deny the allegations in Paragraph 59.



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          60.   The RCN Defendants deny the allegations in Paragraph 60.

          61.   The RCN Defendants deny the allegations in Paragraph 61.

          62.   The RCN Defendants admit the first sentence of Paragraph 62. With

  respect to the remaining allegations in Paragraph 62, the RCN Defendants state

  that the information on RCN’s website at the cited URL https://www.rcn.com/new-

  york/high-speed-internet/ speaks for itself, and deny the allegations in Paragraph

  62 to the extent they are inconsistent with the cited material.

          63.   The RCN Defendants deny the allegations in Paragraph 63.

          64.   The RCN Defendants deny the allegations in Paragraph 64.

          65.   The RCN Defendants deny the allegations in Paragraph 65.

          66.   The RCN Defendants deny the allegations in Paragraph 66.

          67.   The RCN Defendants deny the allegations in Paragraph 67.

          68.   The RCN Defendants deny the allegations in the first sentence of

  Paragraph 68. The RCN Defendants lack knowledge or information sufficient to

  form a belief about the truth of the remaining allegations in Paragraph 68 and

  therefore deny them.

          69.   The RCN Defendants lack knowledge or information sufficient to

  form a belief about the truth of the allegations in Paragraph 69 and therefore deny

  them.

          70.   The RCN Defendants deny the allegations in Paragraph 70.



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           71.   The RCN Defendants deny the allegations in Paragraph 71.

           72.   The RCN Defendants deny the allegations in Paragraph 72.

           73.   The RCN Defendants deny the allegations in Paragraph 73.

           74.   The RCN Defendants deny the allegations in Paragraph 74.

           75.   The RCN Defendants deny the allegations in Paragraph 75.

           76.   The RCN Defendants state that the provisions of 17 U.S.C. § 512(a)

  and 17 U.S.C. § 512(i)(1)(A) speak for themselves, and denies the allegations of

  Paragraph 76 to the extent they are inconsistent with the statute.

           77.   The RCN Defendants deny the allegations in Paragraph 77.

           78.   The RCN Defendants deny the allegations in Paragraph 78.

           79.   The RCN Defendants state that cited order speaks for itself, and

  denies the allegations in Paragraph 79 to the extent they are inconsistent with that

  order.

           80.   The RCN Defendants deny the allegations in Paragraph 80.

           81.   The allegations in Paragraph 81 do not require a response because

  they pertain to a separate Defendant, Patriot, which has been dismissed from this

  action.

           82.   The allegations in Paragraph 82 do not require a response because

  they pertain to a separate Defendant, Patriot, which has been dismissed from this

  action.



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        83.    The allegations in Paragraph 83 do not require a response because

  they pertain to a separate Defendant, Patriot, which has been dismissed from this

  action.

    Count One – Alleged Contributory Copyright Infringement Against RCN

        84.    The RCN Defendants incorporate by reference their foregoing

  responses to the preceding Paragraphs.

        85.    The RCN Defendants admit that they do not have any authorization,

  permission, license, or consent to exploit the Copyrighted Sound Recordings (as

  defined in the Amended Complaint). The RCN Defendants lack knowledge or

  information sufficient to form a belief about the truth of the remaining allegations

  in Paragraph 85 and therefore deny them.

        86.    The RCN Defendants deny the allegations in Paragraph 86.

        87.    The RCN Defendants deny the allegations in Paragraph 87.

        88.    The RCN Defendants deny the allegations in Paragraph 88.

        89.    The RCN Defendants deny the allegations in Paragraph 89.

        90.    The RCN Defendants deny the allegations in Paragraph 90.

        91.    The RCN Defendants deny the allegations in Paragraph 91.

        92.    The RCN Defendants deny the allegations in Paragraph 92.

        93.    The RCN Defendants deny the allegations in Paragraph 93.

        94.    The RCN Defendants deny the allegations in Paragraph 94.



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        95.    The RCN Defendants deny the allegations in Paragraph 95.

      Count Two – Alleged Vicarious Copyright Infringement Against RCN

        96.    The RCN Defendants incorporate by reference their foregoing

  responses to the preceding Paragraphs.

        97.    The RCN Defendants admit that they do not have any authorization,

  permission, license, or consent to exploit the Copyrighted Sound Recordings (as

  defined in the Amended Complaint). The RCN Defendants lack knowledge or

  information sufficient to form a belief about the truth of the remaining allegations

  in Paragraph 97 and therefore deny them.

        98.    The RCN Defendants deny the allegations in Paragraph 98.

        99.    The RCN Defendants deny the allegations in Paragraph 99.

        100. The RCN Defendants deny the allegations in Paragraph 100.

        101. The RCN Defendants deny the allegations in Paragraph 101.

        102. The RCN Defendants deny the allegations in Paragraph 102.

        103. The RCN Defendants deny the allegations in Paragraph 103.

        104. The RCN Defendants deny the allegations in Paragraph 104.

        105. The RCN Defendants deny the allegations in Paragraph 105.

        106. The RCN Defendants deny the allegations in Paragraph 106.

        107. The RCN Defendants deny the allegations in Paragraph 107.




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  Count Three – Alleged Contributory Copyright Infringement Against Patriot

  [No response is required to Paragraphs 108–120 because this is a claim against a

  separate Defendant, Patriot, and further because this claim has been dismissed

  pursuant to the Court’s August 31, 2020 Order, ECF No. 89]

     Count Four – Alleged Vicarious Copyright Infringement Against Patriot
                            17 U.S.C. §§ 101 et seq.

  [No response is required to Paragraphs 121–132 because this is a claim against a

  separate Defendant, Patriot, and further because this claim has been dismissed

  pursuant to the Court’s August 31, 2020 Order, ECF No. 89]

                         PLAINTIFFS’ REQUEST FOR RELIEF

            The RCN Defendants deny that Plaintiffs are entitled to any of the requested

  relief.

                             PLAINTIFFS’ JURY DEMAND

            The RCN Defendants state that this Paragraph contains no allegations that

  require a response.

    RCN DEFENDANTS’ ADDITIONAL AND AFFIRMATIVE DEFENSES

            The RCN Defendants assert the following additional and affirmative

  defenses:

            1.    The First Amended Complaint and each count thereof fail to state a

  claim or cause of action upon which relief can be granted.




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        2.     Plaintiffs’ claims are barred to the extent that Plaintiffs or their

  predecessors did not register copyrights before alleged infringements or within

  three months of first publication of published works, the failure to register timely

  bars Plaintiffs’ claims for statutory damages and attorneys’ fees.

        3.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of

  unclean hands.

        4.     Plaintiffs’ claims for damages are barred, in whole or in part, by their

  failure to mitigate damages.

        5.     Plaintiffs’ claims are barred, in whole or in part, by copyright misuse.

        6.     The statute of limitations, 17 U.S.C. § 507(b), bars Plaintiffs’ claims

  to the extent Plaintiffs allege liability for instances of alleged copyright

  infringement that occurred more than three years before Plaintiffs filed their

  Complaint in this matter.

        7.     17 U.S.C. § 512(a) bars Plaintiffs’ claims against the RCN

  Defendants. As service providers, the RCN Defendants have adopted and

  reasonably implemented, and have informed subscribers and account holders of, a

  policy that provides for the termination of internet service in appropriate

  circumstances of subscribers and account holders alleged to be repeat copyright

  infringers. The RCN Defendants’ policy involves an escalating series of

  notifications and actions based upon continued receipt of compliant allegations of



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  copyright infringement that appear to implicate a particular subscriber account,

  which can culminate in termination of the affected subscriber’s account. The RCN

  Defendants have permanently terminated the accounts of subscribers identified

  pursuant to this policy. The RCN Defendants accommodate and do not interfere

  with standard technical measures used by copyright owners to identify or protect

  copyrighted works.

        8.      The RCN Defendants were not aware, and had no reason to believe,

  that their acts (alleged or otherwise) constituted an infringement of a copyright,

  and accordingly any statutory damages should be reduced pursuant to 17 U.S.C. §

  504(c)(2).

                            RESERVATION OF RIGHTS

        The RCN Defendants reserve the right to add any additional defenses that

  discovery may reveal.



               COUNTERCLAIMS AGAINST THE RECORD LABELS,
                      THE RIAA, AND RIGHTSCORP

        Defendant and Counterclaim Plaintiff RCN Telecom Services, LLC,

  (“RCN”) hereby asserts the following counterclaims against Plaintiffs UMG

  Recordings, Inc., Capitol Records, LLC, Sony Music Entertainment, Arista

  Records LLC, Arista Music, LaFace Records LLC, Sony Music Entertainment US

  Latin LLC, Volcano Entertainment III, LLC, Zomba Recording LLC, Atlantic

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  Recording Corporation, Bad Boy Records LLC, Elektra Entertainment Group Inc.,

  Fueled By Ramen LLC, Maverick Recording Company, The All Blacks U.S.A.,

  Inc., Warner Music Nashville LLC, Warner Records Inc., Warner Records/Sire

  Ventures LLC, and WEA International Inc. (collectively, the “Record Labels”),

  Rightscorp, Inc. (“Rightscorp”), and the Recording Industry Association of

  America, Inc. (“RIAA”) (collectively, “Counterclaim Defendants”) as follows:

                               The Nature of the Case

        1.     RCN’s counterclaims are based on Rightscorp’s, the RIAA’s, and the

  Record Labels’ unlawful, unfair, and fraudulent business practices in generating

  and sending millions of unsupported emails accusing RCN’s customers of

  BitTorrent-based copyright infringement, while intentionally destroying the

  evidence necessary to determine whether any of those accusations were true.

        2.     Counterclaim Defendants’ goal is to force internet service providers

  (“ISPs”) to treat all copyright infringement accusations, no matter how flimsy, as

  legitimate. In a sane world, only actual, verifiable evidence of copyright

  infringement would provide a sufficient basis for an ISP to terminate the internet

  access of a customer. But that is not the world the Record Labels and the RIAA

  want to live in. Instead of actually policing their copyrights—and identifying and

  proving claims of direct copyright infringement—Counterclaim Defendants seek to

  create an environment in which ISPs, including RCN, have no choice but to



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  indiscriminately terminate the internet access of every customer accused of

  copyright infringement, or face the wrath of the Record Labels and the RIAA. The

  Record Labels and the RIAA are relying on Rightscorp’s copyright infringement

  allegations not because they are true, but because the nature and volume of the

  accusations allow Counterclaim Defendants to use them for the improper purpose

  of gaining leverage over ISPs. The unspoken threat is RCN’s reality: accept the

  new copyright regime or face the cost and burden of defending against a protracted

  secondary copyright infringement lawsuit seeking vast sums of damages.

        3.     As part of their work toward this goal, the RIAA and the Record

  Labels have partnered with Rightscorp to assert copyright infringement claims

  against RCN. These claims are being brought by the Record Labels, who fund the

  RIAA’s activities.

        4.     The Record Labels’ claims against RCN are based on emails

  Rightscorp sent to RCN regarding alleged instances of copyright infringement by

  users of its network, and allegedly infringing audio files that Rightscorp claims to

  have downloaded from those persons.

        5.     Rightscorp’s process for detecting copyright infringement is a sham

  built on shoddy business practices, the willful destruction of evidence, and a

  cavalier approach to—if not outright disregard for—the truth.




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        6.     Rightscorp starts with nothing more than lists of songs provided by its

  clients. Rightscorp does not vet that its clients actually own rights in the songs;

  does not determine what its clients’ copyrights (if they own any) actually cover;

  and does not verify that the songs are the subject of a registered U.S. copyright.

        7.     Next, Rightscorp claims to obtain data enabling it to identify music

  files being shared over BitTorrent that are copies of the target song, and to identify

  BitTorrent users who are sharing those files on a particular ISP’s network. But

  after identifying the potential infringers, Rightscorp deletes all of the data so that

  no one can ever question (1) how Rightscorp actually determined that the alleged

  copy was in fact a copy—if it made that effort at all or (2) how it identified

  potential infringers on the ISP’s network.

        8.     Then, Rightscorp says that it connects with the potential infringers

  over BitTorrent and receives data demonstrating that they actually possess the

  target music file and are offering to share it with others. Rightscorp deletes all of

  that data too, even though it is the actual evidence of copyright infringement

  (according to its own theory of infringement).

        9.     Finally, Rightscorp sends a conclusory email to the accused

  infringer’s ISP, representing that the accused infringer downloaded, uploaded, or

  offered to upload copyrighted content over BitTorrent. Rightscorp fails to mention




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  that its technology is unable to detect the download or upload of files over

  BitTorrent.

        10.      Although Rightscorp has sent millions of these emails to RCN, not a

  single one included any actual evidence of copyright infringement. Rightscorp

  could not even be bothered to digitally sign its emails to verify its identity, even

  though RCN expressly requires digital signatures and has repeatedly attempted to

  notify Rightscorp of its noncompliance.

        11.      After the fact, Rightscorp claims to “confirm” its accusations by

  downloading infringing content from some subset of accused infringers.

  Conveniently, however, Rightscorp has also destroyed: (1) all evidence of how

  regularly it attempted these downloads, (2) all evidence of when and from whom it

  downloaded the files, and (3) all evidence of when and how often its download

  attempts failed—i.e., the instances when Rightscorp proved that its own allegations

  were false.

        12.      As a result, neither RCN nor any of the accused infringers—RCN’s

  customers—can test the accuracy of any of Rightscorp’s copyright infringement

  allegations.

        13.      The RIAA and the Record Labels have known all of this for years.

  Nevertheless, they have allowed Rightscorp to continue sending suspect emails

  accusing RCN’s customers of copyright infringement while destroying all of the



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  evidence on which those accusations are based. At the same time, the RIAA and

  the Record Labels have pursued copyright infringement claims against ISPs in

  which they benefit from Rightscorp’s spoliation of evidence, because it shields

  their allegations of infringement from meaningful scrutiny.

        14.   Counterclaim Defendants’ intentional destruction of evidence that

  supports or contradicts millions of conclusory and unsupported accusations of

  copyright infringement against users of RCN’s network, and their scheme to wield

  that evidence against RCN and others solely for monetary gain, significantly harms

  competition, is immoral, unethical, oppressive, unscrupulous, and substantially

  injurious to consumers and competition. These business practices are in violation

  of the California Business & Professions Code § 17200 et seq.

        15.   Additionally, Rightscorp’s collection of evidence for use in court

  proceedings is an unlawful business practice because, on information and belief,

  Rightscorp and its representatives have been acting as private investigators without

  a license, in violation of California and New Jersey law. And on information and

  belief, the RIAA and Record Labels hired Rightscorp in order to benefit from its

  unlawful business practices despite knowing that Rightscorp and its representatives

  are unlicensed. These unlawful business practices are in violation of the California

  Business & Professions Code § 17200 et seq.




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                          Parties, Jurisdiction, and Venue

        16.   Counterclaim Defendant Rightscorp is a Delaware corporation with a

  principal place of business in Santa Monica, California.

        17.   This Court has personal jurisdiction over Rightscorp. Rightscorp

  purports to monitor the internet activity of New Jersey residents who access the

  internet via the network of RCN, whose operations are headquartered in Princeton,

  New Jersey. According to Rightscorp, its monitoring activities include the

  collection of data from New Jersey residents. Based on these alleged monitoring

  activities, Rightscorp has sent millions of emails to RCN accusing users of RCN’s

  network of copyright infringement, and those emails were received by RCN in

  New Jersey. RCN’s claim against Rightscorp arises out of Rightscorp’s conduct in

  generating and sending those emails to RCN, and otherwise in aiding the Record

  Labels in their prosecution of their claims against RCN.

        18.   Counterclaim Defendant the RIAA is a New York nonprofit

  corporation with a principal place of business in Washington, D.C. The RIAA is a

  trade organization whose members include most of the major music companies in

  the United States, including the Record Labels. According to its website, “nearly

  85% of all legitimate recorded music produced and sold in the United States is

  created, manufactured or distributed by RIAA members.”




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        19.    This Court has personal jurisdiction over the RIAA. The RIAA and

  the Record Labels represent that the RIAA has a common interest with the Record

  Labels in the prosecution of their claims against RCN. Since at least August of

  2019, Rightscorp has been accusing New Jersey-based users of New Jersey-based

  RCN of infringing copyrights of RIAA member organizations with the RIAA’s

  knowledge and consent, on behalf of itself and its member companies. The Record

  Labels’ claims in this action are based on evidence the RIAA purchased and

  supplied to the Record Labels, and RCN’s counterclaims concern the RIAA’s

  business practices in obtaining and authorizing the collection of this evidence, and

  in authorizing the destruction of other evidence bearing on the Record Labels’

  claims against RCN. Additionally, in-house attorneys for RIAA have provided and

  are providing legal assistance to the Record Labels in connection with bringing and

  prosecuting their claims against RCN. RCN’s claim against the RIAA arises out of

  the RIAA’s involvement in this action in New Jersey, including its involvement in

  procuring and authorizing the collection of the Rightscorp evidence on which the

  Record Labels’ claims are based.

        20.    On information and belief, Counterclaim Defendant UMG

  Recordings, Inc. is a Delaware corporation with its principal place of business in

  Santa Monica, California.




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          21.   On information and belief, Counterclaim Defendant Capitol Records,

  LLC is a Delaware limited liability company with its principal place of business in

  Santa Monica, California.

          22.   On information and belief, Counterclaim Defendant Sony Music

  Entertainment is a Delaware partnership with its principal place of business in New

  York, New York.

          23.   On information and belief, Counterclaim Defendant Arista Records

  LLC is a Delaware limited liability company with its principal place of business in

  New York, New York.

          24.   On information and belief, Counterclaim Defendant Arista Music is a

  New York partnership with its principal place of business in New York, New

  York.

          25.   On information and belief, Counterclaim Defendant LaFace Records

  LLC is a Delaware limited liability company with its principal place of business in

  New York, New York.

          26.   On information and belief, Counterclaim Defendant Sony Music

  Entertainment US Latin LLC is a Delaware limited liability company with its

  principal place of business in New York, New York.




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        27.   On information and belief, Counterclaim Defendant Volcano

  Entertainment III, LLC is a Delaware limited liability company with its principal

  place of business in New York, New York.

        28.   On information and belief, Counterclaim Defendant Zomba Recording

  LLC is a Delaware limited liability company with its principal place of business in

  New York, New York.

        29.   On information and belief, Counterclaim Defendant Atlantic

  Recording Corporation is a Delaware corporation with its principal place of

  business in New York, New York.

        30.   On information and belief, Counterclaim Defendant Bad Boy Records

  LLC is a Delaware limited liability company with its principal place of business in

  New York, New York.

        31.   On information and belief, Counterclaim Defendant Elektra

  Entertainment Group Inc. is a Delaware corporation with its principal place of

  business in New York, New York.

        32.   On information and belief, Counterclaim Defendant Fueled by Ramen

  LLC is a Delaware limited liability company with its principal place of business in

  New York, New York.




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        33.     On information and belief, Counterclaim Defendant Maverick

  Recording Company is a California general partnership with its principal place of

  business in Los Angeles, California.

        34.     On information and belief, Counterclaim Defendant The All Blacks

  U.S.A., Inc. is a Delaware corporation with its principal place of business in New

  York, New York.

        35.     On information and belief, Counterclaim Defendant Warner Music

  Nashville LLC is a Tennessee limited liability company with its principal place of

  business in Nashville, Tennessee.

        36.     On information and belief, Counterclaim Defendant Warner Records

  Inc. is a Delaware corporation with its principal place of business in Los Angeles,

  California.

        37.     On information and belief, Counterclaim Defendant Warner

  Records/SIRE Ventures LLC is a Delaware limited liability company with its

  principal place of business in Los Angeles, California.

        38.     On information and belief, Counterclaim Defendant WEA

  International Inc. is a Delaware corporation with its principal place of business in

  New York, New York.




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        39.     This Court has personal jurisdiction over the Record Labels because

  they filed this lawsuit against RCN in this District and consented to jurisdiction in

  this Court.

        40.     This is a civil action seeking injunctive relief under the California

  Business & Professions Code § 17200 et seq. based on Rightscorp’s, the RIAA’s,

  and the Record Labels’ unfair and fraudulent business practices. The Court has

  supplemental subject matter jurisdiction over this claim under 28 U.S.C. § 1367.

  RCN’s claims against the Counterclaim Defendants are so related to the underlying

  claims asserted by the Record Labels in this action that they form part of the same

  case or controversy under Article III of the U.S. Constitution, and arise out of

  common facts, transactions, or occurrences. Joinder of the RIAA and Rightscorp

  as Counterclaim Defendants in this action is proper under Rules 13 and 20 of the

  Federal Rules of Civil Procedure.

        41.     Venue is proper under 28 U.S.C. § 1391(b) because, as detailed

  herein, a substantial part of the events giving rise to RCN’s claim occurred in New

  Jersey.

                                   RCN’s ISP Business

        42.     RCN is an internet service provider (“ISP”) that offers internet access

  to millions of customers in the United States, primarily in the northeastern United

  States.



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        43.    RCN merely acts as a conduit, or gateway, for access to the internet.

        44.    RCN does not distribute software used for peer-to-peer file sharing

  over the internet. RCN does not host websites that support or facilitate peer-to-

  peer file sharing, such as torrent websites that index or offer files used in

  connection with BitTorrent file-sharing. In fact, RCN does not distribute any

  software, host any websites, or store any content on behalf of customers.

        45.    Providing internet access is an essential service. Internet access is

  indispensable for hundreds of millions of Americans, who rely on it to work from

  home, pay bills, access financial and banking information, communicate with

  friends and family, obtain healthcare, and attend school. In the modern media

  environment, wide swathes of the population also rely on the internet for access to

  entertainment, including to stream music, television programs, and movies.

        46.    Due to the importance of internet access, having one’s internet access

  terminated or suspended can have severe consequences. For example, a person

  who works from home may lose their job if they no longer have internet access. In

  the current COVID-19 pandemic environment, students required to attend school

  remotely would be unable to participate without internet access. The Supreme

  Court held in Packingham v. North Carolina, 137 S. Ct. 1730 (2017) that a statute

  preventing individuals from accessing only social media websites was “a

  prohibition unprecedented in the scope of First Amendment speech it burdens.”



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        47.    RCN does not supervise or control what users of its network do on the

  internet. RCN does not attempt to restrict its customers’ access to any specific

  websites or content. RCN also does not track what websites they visit or record

  what content they stream or download. If RCN did so, it would be an invasion of

  its customers’ privacy.

                  RCN’s Digital Millennium Copyright Act Policy

        48.    Every year, RCN receives thousands of emails—in some years, more

  than a million—claiming that someone using RCN’s network has committed

  copyright infringement.

        49.    RCN is committed to making reasonable efforts to prevent abuse or

  unlawful activity from occurring on its network. As part of this effort, and despite

  serious misgivings about the manner and frequency with which accusations of

  copyright infringement are made, RCN implemented a Digital Millennium

  Copyright Act (“DMCA”) policy in 2016, under which RCN has permanently

  terminated the internet access of many customers accused of copyright

  infringement.

        50.    As a practical matter, RCN cannot verify the legitimacy of copyright

  infringement accusations it receives. Without conducting an exhaustive, labor-

  intensive investigation, which may be inconclusive in any event, RCN cannot

  verify that the sender is who they say they are, that the sender has authority to



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  enforce any copyright allegedly infringed, or that the copyright at issue is valid or

  enforceable.

        51.      Additionally, no amount of investigation would enable RCN to

  determine whether the infringing conduct actually occurred as alleged—for

  example, whether a particular internet user offered to upload a song at a particular

  time. RCN only learns of the alleged infringing conduct after the fact, when it

  receives an accusation by email. There is no way for RCN to examine past activity

  on its network to determine whether a network user possessed, shared, or offered to

  share a digital file with another internet user. RCN also has no right or ability to

  inspect internet-connected devices on its network (i.e., computers, phones, tablets,

  and the like) to determine whether a network user possesses or possessed specific

  digital content.

        52.      Thus, to establish certain minimum requirements aimed at

  determining whether an email alleging copyright infringement may be legitimate,

  RCN’s DMCA policy requires that each such email: (1) contain a physical or

  electronic signature of a person authorized to act on behalf of the owner of an

  exclusive right that is allegedly infringed; (2) identify the copyrighted work

  claimed to have been infringed, or, if multiple copyrighted works at a single online

  site are covered by a single email, a representative list of such works at that site;

  (3) identify the material that is claimed to be infringing or to be the subject of



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  infringing activity and that is to be removed or access to which is to be disabled,

  and information reasonably sufficient to permit the service provider to locate the

  material; (4) provide information reasonably sufficient to permit RCN to contact

  the sender; (5) contain a statement that the sender has a good faith belief that the

  use of the material is not authorized by the copyright owner; (6) contain a

  statement that the information in the email is accurate and under penalty of perjury

  that the sender is authorized to act on behalf of the owner; and (7) be in a PGP

  (Pretty Good Privacy encryption) format or a compatible standard and digitally

  signed to verify the identity of the sender. These requirements are posted publicly

  on RCN’s website.

        53.    These requirements are reasonable under the circumstances and, on

  information and belief, reflect industry-standard practices.

        54.    Unless an email alleging copyright infringement meets these

  requirements, RCN will not consider the accusation in determining whether to take

  the drastic step of permanently terminating a customer’s internet access.

        55.    To deal with the huge volume of email RCN receives regarding

  alleged instances of copyright infringement, RCN designed and implemented a

  system for processing, cataloguing, and informing customers of such allegations

  (“DMCA System”). Among other things, RCN’s DMCA System ingests

  infringement-related email, determines if the email complies with RCN’s DMCA



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  policy, and attempts to associate the email with a customer account. This enables

  RCN to inform affected customers of copyright infringement allegations and, in

  certain circumstances, permanently terminate their internet access.

        56.    In the event the email does not comply with RCN’s DMCA policy,

  RCN contacts the sender of the email to inform the sender that the email was non-

  compliant and directs the sender to RCN’s DMCA policy. Non-compliant emails

  are nevertheless catalogued in RCN’s DMCA System.

        57.    RCN has incurred—and continues to incur—substantial expense in

  connection with its DMCA System. The design and implementation of RCN’s

  DMCA System required a significant investment of employee time and other

  resources, and there are substantial ongoing costs associated with operating and

  maintaining the System.

                            Copyright Alert System (CAS)

        58.    In July 2011, most of the major record companies, movie studios, and

  industry associations in the United States, and five of the largest ISPs in the United

  States, entered into the Copyright Alert System Memorandum of Understanding

  (“CAS MOU”) to establish a “Copyright Alert System” (“CAS”).

        59.    The RIAA and the Record Labels were parties to the CAS MOU.

        60.    RCN was not asked to be a party to the CAS MOU.




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        61.    The purpose of the CAS was to implement agreed protocols that ISPs

  would use when receiving and acting upon copyright infringement allegations

  directed at users of their networks.

        62.     Pursuant to the CAS, an ISP was required to accept and process only

  a certain number of infringement-related emails per month, and an ISP could stop

  processing emails once that threshold was reached.

        63.    Under the CAS, an ISP was not required to inform a given subscriber

  of copyright infringement allegations more than once per week, and an ISP was

  never required to permanently terminate a subscriber’s internet access.

        64.    Although the CAS MOU is no longer in place and, on information and

  belief, has not been replaced by any new agreement or understanding with the ISPs

  who signed the CAS MOU, neither the Record Labels nor any of their affiliated

  companies have pursued copyright infringement claims against any of those ISPs.

        65.    RCN’s current DMCA policy, which has been in place since 2016, is

  more stringent than the CAS.

          Rightscorp’s Partnership with the RIAA and the Record Labels

        66.    Rightscorp operates a detection system that is allegedly capable of

  detecting copyright infringement taking place on the Internet. Specifically,

  Rightscorp claims it can identify specific BitTorrent users who are offering to

  share a particular piece of a copyrighted content—e.g., a specific song—on the



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  network of a specified ISP. Then, Rightscorp sends an email to the ISP that

  services the IP address associated with that activity, alleging that the ISP’s

  customer has committed copyright infringement.

        67.    Rightscorp’s operations are headquartered in or around Santa Monica,

  California. On information and belief, that is where all or virtually all of

  Rightscorp’s conduct, as alleged herein, took place.

        68.    Rightscorp began sending copyright infringement allegations to ISPs

  in or around 2011. Since that time, Rightscorp has sent millions of emails to RCN

  regarding alleged instances of copyright infringement.

        69.    In its emails, Rightscorp asks RCN to forward the email to the

  affected customer. Rightscorp does this with knowledge that the customer and the

  accused infringer may be—and often are—different people. According to

  Rightscorp, its emails identify the internet connection (i.e., the IP address) used for

  the alleged infringement—for example, the IP address for the modem in a

  residential customer’s residence. So, for example, if an ISP forwards an accurate

  allegation to an affected customer after associating that IP address with a customer

  account, then the ISP may be notifying a customer of copyright infringement

  committed by the customer’s roommate or family member, or by any other person

  able to access the customer’s WiFi network.




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        70.    Rightscorp’s emails direct the accused infringer to contact Rightscorp.

  Rightscorp then invites the accused infringer to “settle” the copyright infringement

  allegation by paying as little as $20. On information and belief, once an accused

  infringer pays a small sum to settle one “claim,” Rightscorp, armed with that

  individual’s contact information, will harass them into settling more and more

  claims. On information and belief, Rightscorp has obtained settlements from

  individuals who did not commit the alleged copyright infringement and/or despite

  not having authority from the copyright owner to settle the claim. Additionally, on

  information and belief, Rightscorp leads accused infringers to believe that a

  payment will conclusively resolve the matter, when in fact there may be other

  rights-holders who could still assert a copyright infringement claim based on the

  same alleged conduct.

        71.    In 2016, Rightscorp paid $450,000 to settle a class action alleging that

  Rightscorp made illegal robocalls to accused infringers. In that lawsuit, Rightscorp

  was also accused of abuse of process, based on the sending of over one hundred

  legally invalid subpoenas to ISPs seeking customer information.

        72.    In internal emails, employees of the Sony Record Labels discussed

  Rightscorp’s efforts “to milk consumers,” expressing concern that “[t]o the average

  user, it looks like us” and asking if there is “any way to block this activity if we

  don’t support and don’t benefit.” Sony’s Vice President of Content Protection



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  advised that he did not “see how we can prevent this, except to prevent

  [Rightscorp] from giving the impression that they’re doing this on [Sony’s]

  behalf.”

        73.    In another internal email, a Special Technology Advisor responsible

  for content security for the Warner Record Labels took note of “Rightscorp’s

  terrifying extortion script,” which was described as “breathtaking in its sleaze.”

        74.    Since it was founded in or around 2011, Rightscorp has marketed its

  services to the RIAA on several occasions, including by submitting formal

  responses to requests for proposals from the RIAA. On each occasion, the RIAA

  declined to hire Rightscorp to monitor ISPs’ networks for infringements of the

  Record Labels’ copyrights.

        75.    Rightscorp has also marketed its services to the Record Labels

  directly. The Record Labels have never hired Rightscorp to monitor ISPs’

  networks for infringements of their copyrights.

        76.    Despite these misgivings about Rightscorp and its business practices,

  the RIAA entered into an agreement with Rightscorp in August of 2019 under

  which it is paying Rightscorp to assist the Record Labels in bringing this lawsuit

  against RCN. Specifically, in exchange for payment from the RIAA, Rightscorp

  has provided the Record Labels with emails it sent to RCN on behalf of other




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  alleged rights-holders, and with audio files Rightscorp claims to have downloaded

  from users of RCN’s network.

                         Rightscorp’s Spoliation of Evidence

        77.    According to Rightscorp, its process for identifying alleged

  infringements begins with obtaining lists of songs (i.e., song title and artist name)

  from its clients. Rightscorp does not vet that its clients actually own rights in the

  songs; does not determine what its clients’ copyrights (if any) actually cover; and

  does not verify that the songs are actually the subject of a registered U.S.

  copyright.

        78.    Rightscorp allegedly uses those lists of songs to locate one or more

  publicly-available “torrents” that may include a song Rightscorp is monitoring.

  Rightscorp then downloads the target files to determine whether they do in fact

  contain the song, either manually (an employee listening to the file) or with audio

  fingerprinting software.

        79.     Rightscorp no longer possesses the results of any analysis identifying

  a copy of a copyrighted work by comparing an allegedly downloaded song with an

  original copyrighted sound recording. The RIAA and the Record Labels knew that

  when they entered into their agreement with Rightscorp to collaborate on this

  lawsuit against RCN. On information and belief, Rightscorp intentionally

  destroyed those records.



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        80.    According to Rightscorp, its next step is to identify specific

  BitTorrent users who are participating in a “swarm” of BitTorrent users sharing a

  file that Rightscorp has determined is a copy of a copyrighted sound recording. To

  accomplish this, Rightscorp communicates with a BitTorrent tracker that shares

  information about particular BitTorrent users, or “peers,” that may be willing to

  offer one or more pieces of the file of interest.

        81.    Rightscorp claims that the information provided by these trackers is

  how Rightscorp identifies potential infringers, including any users of RCN’s

  network whom Rightscorp has accused of copyright infringement.

        82.    Rightscorp no longer possesses any tracker information used to

  identify potential infringers on RCN’s network. The RIAA and the Record Labels

  knew that when they entered into their agreement with Rightscorp to collaborate

  on this lawsuit against RCN. On information and belief, Rightscorp intentionally

  destroyed that data.

        83.    After identifying potential infringers, Rightscorp software allegedly

  opens a connection with each peer to determine whether they actually possess the

  file of interest. During this process, Rightscorp obtains various categories of data

  from the peer, including “bitfield” data that provides information about what

  pieces of the file (if any) reside on the peer’s computer, and “choke” data that

  reflects whether the peer is actually willing to share the subject file.



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        84.    According to Rightscorp, it relies solely on bitfield data in

  determining whether to send a notice of alleged copyright infringement to an ISP.

  In other words, once Rightscorp determines (in its view) that a peer possesses

  some or all of the file of interest, that peer is (again, in Rightscorp’s view) an

  infringer. Despite receiving choke data, Rightscorp ignores that information and

  will therefore accuse a peer of infringement even if the peer is unwilling to share

  the song.

        85.    Rightscorp no longer possesses bitfield or choke data corresponding

  to any of the emails it sent to RCN regarding alleged instances of copyright

  infringement. Rightscorp intentionally destroyed all of that data. The RIAA and

  the Record Labels knew that when they entered into their agreement with

  Rightscorp to collaborate on this lawsuit against RCN.

        86.    For a period of time, Rightscorp manually executed code that caused

  infringement emails to be sent for every file within a torrent payload (e.g., all 10

  songs in a 10-song album) if the peer possessed as little as 10% of the payload.

  For example, a peer with one song from a 10-song torrent file, or with pieces of

  several different songs from a 10-song torrent file, might receive an infringement

  email for all 10 songs, even though the peer was specifically reporting that it did

  not have all ten songs or even a complete copy of a single song. In other words,

  this 10% threshold could have caused—and certainly did cause—Rightscorp to



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  accuse a peer of downloading, sharing, or offering to share a song that the peer did

  not even possess.

        87.    Rightscorp no longer possesses any documentary evidence or data that

  would confirm the period of time in which this 10% threshold was in place, or that

  would otherwise identify any period of time in which Rightscorp used a threshold

  value of less than 100%. The RIAA and the Record Labels knew that when they

  entered into their agreement with Rightscorp to collaborate on this lawsuit against

  RCN. On information and belief, Rightscorp intentionally destroyed that evidence

  and/or intentionally took steps to ensure that the use of thresholds lower than 100%

  was not documented.

        88.    Separate from (and subsequent to) its processes for generating and

  sending notices to ISPs, Rightscorp contends that its system is also capable of

  downloading audio files directly from accused infringers.

        89.    Despite claiming to have downloaded infringing audio files from

  users of RCN’s network, Rightscorp does not possess any documentary evidence

  or data demonstrating when or from whom Rightscorp downloaded those files.

  The RIAA and the Record Labels knew that when they entered into their

  agreement with Rightscorp to collaborate on this lawsuit against RCN. On

  information and belief, Rightscorp intentionally destroyed that evidence.




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        90.    Rightscorp admits that its software is not always successful when it

  attempts to download an allegedly infringing audio file from an accused infringer.

  Such a failure would occur, for example, if an accused infringer did not actually

  possess the target file, or if the accused infringer possessed the target file but was

  not offering to share it with other BitTorrent users.

        91.    Rightscorp does not possess any documentary evidence or data

  reflecting failed download attempts. The RIAA and the Record Labels knew that

  when they entered into their agreement with Rightscorp to collaborate on this

  lawsuit against RCN. On information and belief, Rightscorp intentionally

  destroyed that evidence and/or intentionally took steps to ensure that no record was

  made of failed download attempts.

        92.    If RCN had asked Rightscorp, the RIAA, or the Record Labels about

  the legitimacy of any email sent to RCN by Rightscorp, they would have been

  unable to provide any evidence or data obtained from the alleged infringer that

  formed the basis for Rightscorp’s accusation of copyright infringement.

        93.    The RIAA does not permit Rightscorp to send copyright infringement

  complaints to RCN or any other ISP in which any of the Record Labels is

  identified as the copyright owner. Instead, the RIAA engages a company or

  business unit called MarkMonitor, now known as OpSec Security or OpSec

  Online, to perform services similar to those offered by Rightscorp.



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        94.    On information and belief, the RIAA requires MarkMonitor/OpSec to

  preserve certain data in the form of “evidence packages” for use in any subsequent

  litigation. On information and belief, the evidence the RIAA requires

  MarkMonitor/OpSec to obtain and preserve includes, among other things:

        a.     The percentage of file shared;

        b.     All network packets exchanged with the target IP address during

               communication session;

        c.     A log of all control communication with the target; and

        d.     All bitfield data.

        95.    Rightscorp did not preserve any of the information listed in the

  preceding paragraph in connection with its alleged detections of copyright

  infringement on RCN’s network. The RIAA and the Record Labels knew that

  when they entered into their agreement with Rightscorp to collaborate on this

  lawsuit against RCN.

        96.    On information and belief, Rightscorp no longer possesses evidence

  sufficient to determine the accuracy of any individual accusation of copyright

  infringement it has made toward a user of RCN’s network. In other words,

  because of Rightscorp’s destruction of or failure to preserve evidence, there is no

  way to know if any of its copyright infringement accusations were true.




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        97.    Rightscorp has been sending emails to RCN regarding alleged

  copyright infringement on its network with the knowledge and consent of the

  RIAA and the Record Labels. This includes emails regarding alleged infringement

  of the works in suit and other works owned by the Record Labels.

        98.    With the knowledge and consent of the RIAA and the Record Labels,

  Rightscorp has continued to destroy or failed to preserve all of the foregoing

  categories of evidence. This knowledge and consent dates at least to 2016, when

  the RIAA and Rightscorp began discussing potential copyright infringement

  litigation against RCN. The RIAA and Rightscorp then entered into a formal

  agreement regarding this litigation in 2019. Since entering into this agreement,

  Rightscorp has continued to send emails to RCN regarding alleged infringement of

  Plaintiffs’ copyrighted sound recordings, and Rightscorp has provided these emails

  to the Record Labels and the RIAA for use against RCN in this case.

        99.    The RIAA, the Record Labels, and Rightscorp had a duty to preserve

  any evidence pertaining to Rightscorp’s copyright infringement allegations against

  users of RCN’s network. Rightscorp’s emails were sent to RCN in anticipation of

  litigation. Rightscorp’s emails threatened litigation against accused infringers and

  offered to settle such claims to avoid litigation, with the purported authorization of

  the copyright owner. Rightscorp’s destruction of this evidence violated the

  RIAA’s, the Record Labels’, and Rightscorp’s duties to preserve relevant evidence.



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            The Unreliability of, and Misrepresentations Contained in,
                  Rightscorp’s Copyright Infringement Emails

        100. The RIAA, the Record Labels, and Rightscorp have collaborated in

  seeking to force RCN to take action against its customers based on facially

  deficient, unverifiable, and misleading allegations of copyright infringement.

        101. None of Rightscorp’s emails to RCN regarding alleged copyright

  infringement complied with RCN’s DMCA policy.

        102. On its website (https://www.rcn.com/hub/about-rcn/policies-and-

  disclaimers/dmca-policy-and-procedure/), RCN informs senders of such emails

  that “each notification [must] be in a PGP format or a compatible standard and

  must be digitally signed to verify the identity of the sender.” This requirement is

  important because it helps ensure that the sender of the email is who they claim to

  be. Other than Rightscorp, all or virtually all entities that send RCN a meaningful

  number of emails regarding copyright infringement issues comply with this

  requirement.

        103. Rightscorp was aware of the digital signature requirement in RCN’s

  DMCA policy no later than September 2016.

        104. RCN’s digital signature requirement is consistent with the provisions

  of version 2.0 of the Automated Content Notice System (“ACNS”). The ACNS

  was developed in 2003 by NBC Universal and Universal Music Group, a plaintiff

  in this case, to help facilitate the efficient handling of copyright infringement

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  notices at ISPs. Pursuant to the ACNS, in the United States, all DMCA notices

  must be physically or digitally signed, and because notices are intended for

  automated handling, the de facto standard is a digital signature. The ACNS also

  strongly recommends digital signatures as a best practice even where the DMCA

  does not apply.

        105. None of Rightscorp’s emails to RCN complied with RCN’s digital

  signature requirement. As a result, Rightscorp’s emails to RCN resulted in a

  response email from RCN informing Rightscorp that the email was non-compliant

  and directing Rightscorp to RCN’s DMCA policy. Rightscorp began to receive

  these emails from RCN in or around September of 2016. Nevertheless, Rightscorp

  has continued to send RCN non-compliant email allegations to this day.

        106. Rightscorp has no legitimate, good faith reason for refusing to comply

  with RCN’s DMCA policy.

        107. Since at least 2016, the RIAA and the Record Labels knew or should

  have known that none of Rightscorp’s copyright infringement complaints to RCN

  were digitally signed, in violation of RCN’s DMCA policy. On information and

  belief, the RIAA, on behalf of the Record Labels, has authorized Rightscorp to

  continue sending copyright infringement complaints to RCN without a digital

  signature.




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        108. Rightscorp’s emails to RCN regarding alleged copyright infringement

  contained nothing more than conclusory allegations. None of Rightscorp’s emails

  contained, disclosed, or attached any evidence of copyright infringement. None of

  Rightscorp’s emails contained, disclosed, or attached any data or information

  obtained from the accused infringer.

        109. Although all of Rightscorp’s emails to RCN threatened a lawsuit for

  damages against the accused infringer, none of Rightscorp’s emails identified a

  copyright registration number. Registration is a prerequisite to any copyright

  infringement lawsuit, and the timing of the registration can affect the remedies

  available to the copyright owner.

        110. On information and belief, Rightscorp never verified that a given song

  was the subject of a registered U.S. copyright prior to sending copyright

  infringement allegations to RCN that expressly threatened a lawsuit for damages.

        111. Many of Rightscorp’s emails to RCN did not identify the copyright

  owner whose copyright Rightscorp claimed to be enforcing. On information and

  belief, Rightscorp does not possess evidence that the emails it sent to RCN were

  sent with the authorization of the owner of a relevant copyright. On information

  and belief, Rightscorp has sent such emails to RCN without the authorization of

  the owner of a relevant copyright.




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        112. On information and belief, Rightscorp never verified that its clients

  actually owned any relevant copyrights prior to sending copyright infringement

  allegations to RCN on its clients’ behalf.

        113. Rightscorp’s emails to RCN, which were addressed to the alleged

  direct infringer, asserted that “[y]our ISP account has been used to download,

  upload or offer for upload copyright content . . . .” This allegation was misleading,

  at best. Rightscorp is unable to detect the download or upload of files by

  BitTorrent users. Nevertheless, Rightscorp affirmatively alleged that it could (and

  did) detect instances of the download and upload of files.

        114. Rightscorp also represented in its emails to RCN that it “represent[s]

  the copyright owner” and that the email “is an offer of settlement.” These claims

  were likewise misleading. Rightscorp has no way of knowing whether it

  represented a copyright owner, because it took no steps to determine, and had no

  evidence of, who owned any copyrights to the songs at issue. At most, Rightscorp

  represented a copyright owner, whose claim Rightscorp may have had authority to

  settle. But Rightscorp failed to disclose that there may be other parties with rights

  in the work, and therefore that a settlement with Rightscorp may not, in fact, settle

  the matter.

        115. Although Rightscorp’s emails included an email address and

  telephone number for contacting Rightscorp with any questions, on information



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  and belief, Rightscorp has not monitored the corresponding email inbox and

  voicemail box for at least several years.

        116. On information and belief, some portion of the Rightscorp copyright

  infringement complaints cited in Plaintiffs’ original and amended complaints are

  false or fraudulent. On information and belief, the RIAA and the Record Labels

  knew or should have known prior to filing suit against RCN that at least some of

  Rightscorp evidence they are relying on is false or fraudulent.

        117. On information and belief, Rightscorp’s practices of destroying

  evidence, and failing to make copyright infringement allegations that can be

  independently evaluated or subsequently verified, enabled Rightscorp to send more

  and more copyright infringement complaints to RCN. In other words, because

  Rightscorp knew that its individual allegations could never be vetted, it was

  emboldened to make allegations it could never prove and allegations that it knew

  were false. Thus, there is a direct relationship between Rightscorp’s spoliation of

  evidence and the volume of copyright infringement complaints it has sent to RCN.

        118. Rightscorp’s allegations are known to be unreliable, yet the RIAA and

  the Record Labels continue to rely on them to attempt to force RCN and other ISPs

  to indiscriminately terminate the accounts of accused infringers and to obtain

  damages in lawsuits against ISPs.




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        119. Studies have shown that copyright infringement emails sent by third

  parties to ISPs, including those sent by Rightscorp, are unreliable and prone to

  error. A 2016 study examined a sample of 288,675 copyright infringement notices

  that were sent to online service providers between May 1, 2013, and October 31,

  2013. Jennifer Urban, et al., Notice and Takedown in Everyday Practice (2016)

  (“Urban Study”) (available online at

  https://papers.ssrn.com/sol3/Delivery.cfm/SSRN_ID2938642_code1788303.pdf?a

  bstractid=2755628&mirid=1. The Urban Study found that 4.2% of the

  infringement claims examined “were fundamentally flawed because they targeted

  content that clearly did not match the identified infringed work.” Id. at 88. The

  Urban Study also found that 28.4% of notices that the Urban Study examined “had

  characteristics that raised clear questions about their validity,” including notices

  with “multiple potential issues.” Id.

        120. The sample analyzed in the Urban Study included allegations from

  Rightscorp and allegations sent by or on behalf of the RIAA.

        121. The Urban Study recognized that ISPs incur costs in processing

  copyright infringement allegations. For instance, the Urban Study addressed the

  fact that although Rightscorp’s emails were invalid and “systematically deleted” by

  ISPs, processing Rightscorp’s notices “can still come at some cost.” A respondent

  that reported 12 million notices a year described manually deleting thousands of



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  notices per day after individually verifying that none of them complied with the

  DMCA.

        122. The RIAA, the Record Labels, and Rightscorp are aware that

  Rightscorp’s system can result in false positives and clear mismatches.

        123. The RIAA and the Record Labels are collaborating with Rightscorp in

  bringing this case and endorsing Rightscorp’s business practices, despite their prior

  knowledge of Rightscorp’s spoliation of evidence and the facially deficient,

  unverifiable, and misleading nature of Rightscorp’s copyright infringement emails.

        124. Since at least as early as 2016, the Record Labels and the RIAA knew

  or should have known of all the facts set forth herein, including the fact that it is

  impossible to verify the accuracy of any of Rightscorp’s individual copyright

  infringement complaints due to Rightscorp’s destruction of evidence. The RIAA

  and the Record Labels did not attempt to prevent Rightscorp from continuing its

  unfair and fraudulent business practices, and instead devised a way to benefit from

  Rightscorp’s conduct while maintaining the fiction that Rightscorp is not acting on

  their behalf.

        125. The arrangement between the Record Labels and the RIAA on the one

  hand, and Rightscorp on the other hand, allows the Record Labels and the RIAA to

  benefit from RIAA’s conduct by relying on Rightscorp’s accusations while at the

  same time avoiding any public association with Rightscorp, as Rightscorp is not



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  permitted to identify the Record Labels as the relevant content owners in its

  emails.

         126. On information and belief, since at least 2016, the Record Labels and

  the RIAA have had de facto control over whether Rightscorp sends copyright

  infringement complaints to RCN, over the nature and quantity of such complaints,

  and over all other Rightscorp activities aimed at identifying, obtaining, or

  generating evidence of alleged copyright infringement by users of RCN’s network,

  including Rightscorp’s spoliation of evidence. On information and belief, the

  foregoing activities by Rightscorp have been coordinated with the RIAA and the

  Record Labels, to advance the RIAA’s and the Record Labels’ aims in this

  litigation.

         127. Since at least 2019, Rightscorp has been acting as an agent of the

  RIAA and the Record Labels with respect to Rightscorp’s activities in sending

  copyright infringement complaints to RCN and otherwise identifying, obtaining, or

  generating evidence of alleged copyright infringement by users of RCN’s network,

  to be used as evidence in this case.

         128. On information and belief, Rightscorp is financially dependent on the

  Record Labels and the RIAA and, without their financial assistance, Rightscorp

  would not have been able to continue its business operations, including but not

  limited to the unlawful, fraudulent, and unfair business practices described herein.



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  On information and belief, as a result of Rightscorp’s financial dependence on the

  Record Labels and the RIAA, Rightscorp is subject to their unbridled control.

        129. RCN has been damaged by the conduct of Rightscorp, the RIAA, and

  the Record Labels, as described herein.

        130. Separate from any litigation costs, RCN has incurred legal costs from

  engaging outside attorneys to analyze the nature and content of Rightscorp’s

  copyright infringement complaints, assist with the development of RCN’s DMCA

  policy (including specifically the digital signature requirement), analyze the legal

  significance of Rightscorp’s refusal to comply with RCN’s digital signature

  requirement, and evaluate potential responses to Rightscorp’s conduct and

  allegations. This includes legal costs RCN incurred in and around 2016, years

  before this lawsuit was filed. RCN would have incurred these legal costs even if it

  had never been involved in or threatened with litigation arising out of Rightscorp’s

  copyright infringement complaints.

        131. RCN has also been forced to devote resources, in the form of

  additional employee work hours, to designing, modifying, and maintaining its

  DMCA System so that it is equipped to process and maintain appropriate records

  of Rightscorp’s non-compliant copyright infringement complaints. This includes

  expenditures of time and effort that would have been avoided if Rightscorp




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  digitally signed the copyright infringement complaints it sent to RCN, as required

  by RCN’s DMCA policy.

        132. Additionally, RCN has incurred and continues to incur substantial

  legal expenses in evaluating and defending against Rightscorp’s copyright

  infringement allegations, including its defense of the Record Labels’ claims in this

  matter, which are based at least in part on evidence that the Record Labels, the

  RIAA, and Rightscorp know is false or fraudulent, or was unlawfully obtained.

            Rightscorp is Unlawfully Acting as a Private Investigator
         Without a License in Violation of California and New Jersey Law
        133. California Business & Professions Code § 7521 defines a private

  investigator as a person “who, for any consideration whatsoever . . . engages in

  business or accepts employment to furnish, or agrees to make, or makes, any

  investigation for the purpose of obtaining, information with reference to . . .

  [s]ecuring evidence to be used before any court, board, officer, or investigating

  committee.”

        134. California Business and Professions Code § 7523(a) provides that,

  with certain exceptions not applicable to Rightscorp or any of its relevant

  representatives, “no person shall engage in the business of private investigator, as

  defined in Section 7521, unless that person has applied for and received a license

  to engage in that business pursuant to this chapter.”




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        135. Section 7523(b) provides that “[a]ny person who violates any

  provision of this chapter or who conspires with another person to violate any

  provision of this chapter, relating to private investigation licensure, or who

  knowingly engages a nonexempt unlicensed person is guilty of a misdemeanor

  punishable by a fine of five thousand dollars ($5,000) or by imprisonment in the

  county jail not to exceed one year, or by both that fine and imprisonment.”

        136. Rightscorp has generated and sent copyright infringement complaints

  to RCN, and has purported to obtain copies of copyrighted content from users of

  RCN’s network, for the purpose of investigating and obtaining purported evidence

  of copyright infringement to be used before the Court in this case. Rightscorp has

  also engaged in substantially similar activities to provide purported evidence of

  copyright infringement on other ISP networks, to be used in other federal court

  proceedings.

        137. On information and belief, neither Rightscorp nor its relevant

  representatives, including Christopher Sabec, Robert Steele, Gregory Boswell, and

  Cecil Bond Kyte, has received a license in California to act as a private

  investigator with respect to the conduct of Rightscorp’s operations.

        138. On information and belief, Rightscorp knew or should have known

  that none of its relevant representatives were licensed to engage in the business of

  private investigator in California.



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          139. Rightscorp and/or its representatives have therefore violated

  California Business and Professions Code § 7523.

          140. The RIAA and the Record Labels knew or should have known that

  Rightscorp was acting as an unlicensed private investigator in California and New

  Jersey at least as early as 2016. By partnering with Rightscorp to receive evidence

  from Rightscorp for use in this case, the RIAA and the Record Labels conspired to

  violate California Business and Professions Code § 7523 and/or knowingly

  engaged nonexempt unlicensed persons to conduct the business of private

  investigator in violation of Section 7523.

          141. The efforts of Rightscorp and its representatives to obtain and provide

  evidence regarding activity on RCN’s network, as described herein, also constitute

  the unlicensed conduct of “private detective business” under New Jersey law, in

  violation of N.J.S.A. § 45:19-10.

          142. The RIAA and the Record Labels have endorsed and supported

  Rightscorp’s unlicensed private investigations, and they seek to benefit from

  Rightscorp’s unlawful behavior by using evidence obtained from Rightscorp in this

  case.

          143. Rightscorp, the RIAA, and the Record Labels have therefore engaged

  in unlawful business acts or practices in violation of California Business and

  Professions Code § 17200.



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        144. RCN has been damaged by this conduct. On information and belief,

  Rightscorp, and in turn the RIAA and the Record Labels, would not have engaged

  in the unfair and fraudulent business practices described herein had Rightscorp and

  its representatives undertaken and been subject to the training and licensure

  requirements for private investigators in California and/or New Jersey. As alleged

  herein, these unfair and fraudulent business practices caused RCN to suffer

  economic injury.

           COUNT I – UNFAIR COMPETITION UNDER CALIFORNIA
             BUSINESS & PROFESSIONS CODE § 17200 ET SEQ.
             (Against the Record Labels, the RIAA, and Rightscorp)

        145. RCN incorporates by reference the preceding allegations.

        146. RCN asserts this claim of unfair competition against the Record

  Labels, the RIAA, and Rightscorp under California Business & Professions Code §

  17200.

        147. As alleged herein, RCN has suffered, and continues to suffer, an

  injury in fact through the loss of money and property as a result of Counterclaim

  Defendants’ unlawful, unfair, and fraudulent business practices. Counterclaim

  Defendants’ behavior is an immediate cause of RCN’s injury. RCN incurred legal

  expenses and expended additional company resources as a direct result of the

  conduct described herein.




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        148. As alleged herein, Counterclaim Defendants have engaged in

  unlawful, unfair, and fraudulent business acts or practices in violation of California

  Business & Professions Code § 17200 et seq.

        149. As alleged herein, Counterclaim Defendants’ unlawful, unfair, and

  fraudulent conduct violates the letter, policy, and spirit of one or more laws, is

  immoral, unethical, oppressive, unscrupulous, substantially injurious to consumers,

  and significantly threatens or harms competition and the consuming public.

        150. As alleged herein, Counterclaim Defendants’ generation of and

  reliance on spurious copyright infringement allegations that willfully do not

  comply with RCN’s public DMCA policy, and corresponding destruction of all

  underlying evidence, has resulted and continues to result in substantial economic

  injury to RCN, to competition, and to the consuming public, and those injuries are

  not outweighed by any countervailing benefit to consumers or competition.

        151. As alleged herein, Rightscorp has been acting, and continues to act, as

  a private investigator without a license in violation of California and New Jersey

  law, with the assistance and endorsement of the RIAA and the Record Labels.

  Counterclaim Defendants’ business practices therefore additionally constitute

  unlawful business practices under California Business & Professions Code § 17200

  and N.J.S.A. § 45:19-10.




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        152. Even if some of Rightscorp’s allegations may be legitimate,

  Rightscorp has created a “boy who cries wolf” scenario by making an

  overwhelming number of allegations while intentionally refusing to comply with

  RCN’s DMCA policy and intentionally destroying the evidence on which its

  allegations were purportedly based. As a result, RCN’s attention is taken away

  from potentially legitimate copyright infringement notifications that comply with

  RCN’s DMCA policy. Counterclaim Defendants’ conduct knowingly poses the

  risk that RCN may terminate the internet access of a customer unjustly and without

  cause, and/or without any opportunity for RCN or the customer to meaningfully

  and fairly dispute the allegation. Rightscorp’s inundation of RCN with non-

  compliant emails draws and has drawn RCN’s resources away from RCN’s other

  business activities, resulting in economic injury.

        153. As alleged herein, the injury(ies) caused by Counterclaim Defendants’

  unlawful, unfair, and fraudulent conduct could not reasonably have been avoided.

        154. The unlawful, unfair, and fraudulent conduct of Counterclaim

  Defendants alleged herein is continuing. RCN continues to receive copyright

  infringement allegations from Rightscorp with the Record Labels’ and the RIAA’s

  knowledge and consent, and there is no indication that Rightscorp will discontinue

  such activity in the future. Counterclaim Defendants’ unlawful, unfair, and




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  fraudulent business practices will continue, and will continue to injure RCN and

  the public, unless enjoined by the Court.

        155. RCN has suffered irreparable injury as a result of Counterclaim

  Defendants’ conduct as alleged herein, including but not limited to continued harm

  to RCN’s reputation and harm to the public and RCN’s customers. Remedies

  available to RCN other than injunctive relief are inadequate to make RCN whole

  and to protect RCN’s reputation and other irreparable injury.

        156. If Counterclaim Defendants’ unlawful, unfair, and fraudulent business

  practices are not enjoined, RCN and the public interest will not be served as

  Counterclaim Defendants will continue sending copyright infringement emails

  without complying with RCN’s public DMCA policy or preserving the data

  underlying those emails, as discussed herein. Rightscorp, with the assistance and

  endorsement of the RIAA and the Record Labels, will also continue to act as

  unlicensed private investigator. The severe hardships RCN would be subjected to

  if no injunction issues against Counterclaim Defendants’ business practices far

  outweigh any potential hardship the Counterclaim Defendants would be subjected

  to if RCN’s requested injunction is awarded.

                              REQUEST FOR RELIEF

        WHEREFORE, having fully answered and having stated its Counterclaims,

  RCN respectfully requests that the Court enter judgment in favor of Defendants



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  and Counterclaim Plaintiffs and against the Plaintiffs and Counterclaim Defendants

  as follows:

        A.      Judgment against Plaintiffs and in favor of RCN on Plaintiffs’ claims

                set forth in Plaintiffs’ First Amended Complaint and dismissal of such

                claims with prejudice;

        B.      Judgment against Counterclaim Defendants and in favor of RCN on

                RCN’s counterclaims set forth above;

        C.      An order under California Business & Professions Code § 17203

                permanently enjoining Counterclaim Defendants from sending, or

                consenting to, directing, or otherwise authorizing the sending of,

                copyright infringement allegations to RCN without (1) complying

                with RCN’s DMCA policy with respect to each email containing an

                allegation of copyright infringement, (2) storing and preserving all

                information or data upon which such allegation is based, at least until

                the right to pursue any corresponding legal claim has expired, and (3)

                obtaining all necessary licenses to conduct the business of private

                investigator in all applicable jurisdictions, including California and

                New Jersey.

        D.      Awarding RCN reasonable attorneys’ fees, costs, and expenses in

                connection with this action; and



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        E.    Granting such other and further relief to RCN as the Court may deem

              just and proper.

                           DEMAND FOR JURY TRIAL

        RCN requests a trial by jury on all issues so triable.




  Dated: July 20, 2021                   /s/ Edward F. Behm, Jr.
                                         Edward F. Behm, Jr.
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                           CERTIFICATE OF SERVICE

        I hereby certify that, on the below date, I caused a true and correct copy of

  the foregoing SECOND AMENDED ANSWER AND COUNTERCLAIMS to be

  filed via the ECF system and served on all counsel of record.



  Dated: July 20, 2021                   /s/ Edward F. Behm, Jr.
                                         Edward F. Behm, Jr.




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